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 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10   WAYNE SCOLES,                                  CV 09-6953 PA (RCx)
11                 Plaintiff,                       JUDGMENT
12          v.
13   CITY OF SANTA BARBARA, et al.,
14                 Defendants.
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            Pursuant to the Court’s Minute Order of October 4, 2010 granting the defendants’
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     Motion for Summary Judgment,
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            IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that defendants City of
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     Santa Barbara, Santa Barbara Police Department, and Police Chief Camerino Sanchez
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     (collectively “Defendants”) shall have judgment in their favor against plaintiff Wayne
21
     Scoles (“Plaintiff”).
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            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Plaintiff takes
23
     nothing and that Defendants shall have their costs of suit.
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            IT IS SO ORDERED.
25
26
     DATED: October 4, 2010                             _________________________________
27                                                                 Percy Anderson
28                                                        UNITED STATES DISTRICT JUDGE
